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 8                               UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10 CASEY ROBERTS, Individually and On          Case No. 3:19-cv-03422-SI
   Behalf of All Others Similarly Situated,
11                                             [PROPOSED] ORDER
12
                  Plaintiff,
13
           v.
14
   ZUORA, INC., TIEN TZUO, and TYLER
15 SLOAT,

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17                Defendants.

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     [PROPOSED] ORDER
     Case No. 3:19-cv-03422-SI                                             \
        Case 3:19-cv-03422-SI Document 23-1 Filed 08/13/19 Page 2 of 2




 1         Having considered the motion of Derek Selanders for appointment as lead plaintiff and

 2 approval of lead counsel (the “Motion”), and good cause appearing, the Court ORDERS as

 3 follows:

 4         1.     The Motion is GRANTED;

 5         2.     The Court, having considered the provisions of the Private Securities Litigation

 6 Reform Act of 1995, 15 U.S.C. § 78u-4(a)(3)(B), appoints Derek Selanders as Lead Plaintiff; and

 7         3.     Pursuant to 15 U.S.C. § 78u-4(a)(3)(B)(v), the Court appoints Glancy Prongay &

 8 Murray LLP as Lead Counsel for the class.

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10         IT IS SO ORDERED.
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     Dated: __________________, 2019           ________________________________________
13                                             HON. SUSAN ILLSTON
                                               UNITED STATES DISTRICT JUDGE
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     [PROPOSED] ORDER
     Case No. 3:19-cv-03422-SI                                                                       1
